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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Benjamin George
                                Plaintiff,
v.                                                  Case No.: 1:20−cv−06911
                                                    Honorable John Robert Blakey
City Of Chicago, et al.
                                Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, January 13, 2021:


        MINUTE entry before the Honorable John Robert Blakey: A review of the docket
shows that summons has not yet been returned executed as to Defendants Gardiner and
Sikanich. To allow Defendants to file a single responsive pleading (if appropriate), the
Court hereby extends the deadline for all Defendants to answer: Defendants shall answer
or otherwise respond to the complaint by 2/19/21. The Court will set additional case
management dates in a future order. Mailed notice(gel, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

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